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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


THE UNITED STATES OF AMERICA                    §
                                                §
VS                                              §           CAUSE NO: 5:19-CR-00797-OLG-1
                                                §
JOSE ANGEL HERNANDEZ                            §

               DEFENDANT'S UNOPPOSED MOTION FOR CONTINUANCE


TO THE HONORABLE UNITED STATES DISTRICT JUDGE, WESTERN DISTRICT OF
TEXAS, SAN ANTONIO DIVISION:

       Now comes JOSE ANGEL HERNANDEZ Defendant in the above-entitled and numbered

cause, by and through the undersigned Counsel, and files this unopposed motion for continuance,

and in support of such motion, shows the following:

                                                I.

       This cause is presently set for Sentencing on June 30, 2022

                                               II.

       Counsel needs additional time review the PSR with the defendant. Additionally, Counsel

is continuing to confer with the government on this case.

                                               III.

       The undersigned is respectfully requesting a continuance of thirty (30) days in order to

exercise the right to effective assistance of counsel as guaranteed by the 6th Amendment to the

United States Constitution.

                                               IV.

       Assistant United States Attorney Daphne Newaz does not oppose counsel’s request for a

continuance.
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                                                 V.

         Counsel assures the Court this motion is not made for the purpose of delay but rather in

the interest of justice.

WHEREFORE, PREMISES CONSIDERED, the defendant prays the Court continue this cause

for at least thirty (30) days.



                                              Respectfully submitted,

                                              LAW OFFICES OF ALAN BROWN
                                              222 MAIN PLAZA
                                              SAN ANTONIO, TEXAS 78205
                                              (210) 227-5103 (O)
                                              (210) 225-2481 (FAX)
                                              federal@alanbrownlawoffices.com

                                                    /S/        .
                                              ALAN BROWN
                                              BAR NO. 03090000

                                              ATTORNEY FOR DEFENDANT



                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 29th day of June 2022, I electronically filed the foregoing with

the Clerk of Court using the CE/ECF system which will send notification of such filing to the

following:


U.S. Attorney’s Office
601 NW Loop 410, Suite 600
San Antonio, Texas 78216

                                                                    /S/            .
                                                               ALAN BROWN
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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION


THE UNITED STATES OF AMERICA                §
                                            §
VS                                          §        CAUSE NO: 5:19-CR-00797-OLG-1
                                            §
JOSE ANGEL HERNANDEZ                        §

                                       ORDER


      On this the ____ day of ___________________, 2022, came on to be considered

Defendant’s Unopposed Motion for Continuance, and it appears to the Court that this Motion

should be

                                GRANTED          DENIED

      IT IS HEREBY FURTHER ORDERED: _______________________________________

______________________________________________________________________________

______________________________________________________________________________

      SIGNED and ENTERED on this the ______day of ______________________, 2022.


                                         ___________________________________
                                         U.S. DISTRICT JUDGE
